                  EXHIBIT 6

                    UNC0194052




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                      A                         B             C              D              E   F     G      H
1    FALL 2014 FIRST-YEAR CLASS CHARACTERISTICS
2
3
4    DEMOGRAPHICS
5
6    Residency*                                 Number             %
7    North Carolina                                 3,226       81.2%
8    Out of State                                     748       18.8%
9    Total                                          3,974
10
11   * These totals reflect residency after taking into account the OOS Scholarship provision
12
13   Race/Ethnicity (using Undergraduate Admissions reporting guidelines)
14                                              Number             %
15   One race or ethnicity only                     3,463       87.1%
16   Two or more races                                402       10.1%
17   No race or ethnicity reported                    109        2.7%
18   Total                                          3,974
19
20   Of those reporting one race or ethnicity only
21   Native American                               21            0.6%
22   Asian/Asian American                        493            14.2%
23   Black/African American                      334             9.6%
24   Caucasian/White                           2,520            72.8%
25   Hispanic/Latino/Latina                        94            2.7%
26   Pacific Islander                               1            0.0%
27   Total                                     3,463
28
29   All reported races and ethnicities
30   Native American                                   97       2.44%
31   Asian/Asian American                             577       14.5%
32   Black/African American                           421       10.6%
33   Caucasian/White                                2,885       72.6%
34   Hispanic/Latino/Latina                           308        7.8%
35   Pacific Islander                                   2        0.1%




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                       A                       B           C          D          E           F          G      H
36
37   Race/Ethnicity (using Federal reporting guidelines)
38
39   International/Nonresident Aliens                95        2.4%
40
41   Hispanic/Latino of Any Race                    301        7.6%
42
43   Non-Hispanic/Latino:
44    Native American                                 21    0.5%
45    Asian/Asian American                           424   10.7%
46    Black/African American                         328    8.3%
47    Caucasian/White                              2,507   63.1%
48    Pacific Islander                                 1    0.0%
49
50   Two or More Races                               188     4.7%
51   Race/Ethnicity Unknown                          109     2.7%
52   Total                                         3,974   100.0%
53
54   Sex                                        Number          %
55   Female                                        2,302   57.9%
56   Male                                          1,672   42.1%
57   Total                                         3,974
58
59   Nationality                                Number          %
60   U.S. Citizens                                 3,793   95.4%
61   Permanent Residents                              86    2.2%
62   Non-Resident Alien                               95    2.4%
63   Total                                         3,974
64
65   Fee Waiver                                 Number          %
66   Fee Waiver                                      425   10.7%
67   No Fee Waiver                                 3,549   89.3%
68   Total                                         3,974
69
70   Alumni Children                            Number          %




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                      A                 B           C          D          E           F          G      H
 71   NC Alumni Children                      604   15.2%
 72   OOS Alumni Children                     114    2.9%
 73   Non-Alumni Children                   3,256   81.9%
 74   Total                                 3,974
 75
 76   First Generation College           Number         %
 77   FGC                                     710   17.9%
 78   Non-FGC                               3,264   82.1%
 79   Total                                 3,974
 80
 81   ACADEMIC PREPARATION
 82
 83   Rank in Class                      Number         %
 84   Reported                              2,843   71.5%
 85   Not Reported                          1,131   28.5%
 86   Total                                 3,974
 87
 88   Decile Rank                        Number         %       Cum %
 89   First Decile                          2,205   77.6%       77.6%
 90   Second Decile                           453   15.9%       93.5%
 91   Third Decile                            106    3.7%       97.2%
 92   Below Third Decile                       79    2.8%      100.0%
 93   Total                                 2,843
 94
 95   Ordinal Rank                       Number         %       Cum %
 96   1st                                     220     7.7%       7.7%
 97   2nd                                     168     5.9%      13.6%
 98   3rd                                     129     4.5%      18.2%
 99   4th - 10th                              685    24.1%      42.3%
100   Total                                 1,202   42.28%
101
102   GPA                                Number         %
103   Reported                              3,577   90.0%
104   Not Reported                            397   10.0%
105   Total                                 3,974




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                             A                                 B                  C                  D                  E                  F              G   H
106
107                                                             Number                  %
108   4.0 or Higher                                                3,318           92.8%
109   Average                                                       4.59
110
111   SAT Reasoning                                             Number                  %
112   Reported                                                     3,333          83.9%
113   Not reported                                                   641          16.1%
114   Total                                                        3,974        100.00%
115
116   Average and Middle 50 Percent of All Reported SAT Scores
117                                                                  CR                   M                WR               CR+M                  Total
118   North Carolina                                                642                655                634               1297               1931
119   Out of State                                                  666                690                675               1356               2030
120   All                                                           646                662                641               1308               1949
121
122   North Carolina                                          600-690            610-700            590-690         1210-1390          1800-2080
123   Out of State                                            620-730            640-760            620-740         1260-1490          1880-2230
124   All                                                     600-690            610-710            590-700         1210-1400          1800-2110
125
126   Average and Middle 50 Percent of Highest Reported Score* (SAT>=ACT)
127                                                                  CR                   M                WR               CR+M                  Total
128   North Carolina                                                648                661                634               1308               1943
129   Out of State                                                  665                691                673               1356               2029
130   All                                                           651                667                642               1318               1960
131
132   North Carolina                                          600-690            620-710            590-690         1220-1400          1810-2090
133   Out of State                                            610-730            630-760            620-740         1240-1490          1860-2230
134   All                                                     600-700            620-720            590-700         1220-1420          1810-2120
135
136   * Averages and Middle 50% range calculated for students whose highest reported SAT was higher than or equal to their highest reported ACT
137
138
139   ACT                                                       Number                  %
140   Reported                                                     2,749           69.2%




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                             A                                 B                  C                  D                  E                  F      G   H
141   Not Reported                                                 1,225           30.8%
142   Total                                                        3,974
143
144   Average and Middle 50 Percent of All Reported ACT Scores
145   North Carolina                           28.6
146   Out of State                             31.1
147   All                                      29.0
148
149   North Carolina                                               26-31
150   Out of State                                                 30-34
151   All                                                          27-32
152
153   Average and Middle 50 Percent of Highest Reported Score (ACT>=SAT)
154   North Carolina                           29.8
155   Out of State                             31.6
156   All                                      30.1
157
158   North Carolina                                               28-32
159   Out of State                                                 30-34
160   All                                                          28-33
161
162   * Averages and Middle 50% range calculated for students whose highest reported ACT was higher than or equal to their highest reported SAT
163
164   Average and Middle 50 Percent of All Highest Reported CR/V+M Scores (ACT converted to CR+M Scale)
165                                                                CR+M
166   North Carolina                                               1319
167   Out of State                                                 1381
168   All                                                          1332
169
170   North Carolina                                      1240-1400
171   Out of State                                        1300-1480
172   All                                                 1250-1420
173
174
175   AP Exams*                                                  Scores         Scores 3+                % 3+




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                        A          B            C           D          E         F            G           H
176   Total submitted               20,484       17,620     86.0%
177
178                           ALL SCORES                                    SCORES 3+
179                                Students    % of Class       2013            Students     % of Class       2013
180   1 or more                        3,062      77.1%     77.1%                    2,988      75.2%     75.3%
181   2 or more                        2,970      74.7%     75.4%                    2,817      70.9%     71.0%
182   3 or more                        2,858      71.9%     71.5%                    2,609      65.7%     65.8%
183   4 or more                        2,665      67.1%     67.3%                    2,332      58.7%     59.3%
184   5 or more                        2,406      60.5%     59.6%                    1,983      49.9%     50.0%
185   6 or more                        1,997      50.3%     49.2%                    1,570      39.5%     39.1%
186   7 or more                        1,565      39.4%     37.9%                    1,170      29.4%     29.1%
187   8 or more                        1,120      28.2%     26.0%                      842      21.2%     20.1%
188   9 or more                          728      18.3%     17.2%                      527      13.3%     13.0%
189   10 or more                         469      11.8%     10.9%                      340       8.6%      7.9%
190   11 or more                         277       7.0%      6.3%                      194       4.9%      4.6%
191   12 or more                         159       4.0%      3.5%                      108       2.7%      2.4%
192   13 or more                          92       2.3%      1.7%                       63       1.6%      1.1%
193   14 or more                          51       1.3%      0.9%                       38       1.0%      0.6%
194
195   Top Exams                    Students    % of Class
196   USHIST                           2,033      51.2%
197   ENGLNG                           1,971      49.6%
198   ENGLIT                           1,655      41.6%
199   PSYC                             1,378      34.7%
200   STATIS                           1,332      33.5%
201   CALCAB                           1,313      33.0%
202   ENVSCI                           1,302      32.8%
203   BIOL                             1,216      30.6%
204   GOVUS                            1,112      28.0%
205   CALCBC                           1,034      26.0%
206   CHEM                               803      20.2%
207   WRLDHISTORY                        761      19.1%
208   HUMGEOG                            499      12.6%
209   EUHISTORY                          494      12.4%
210




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                           A                               B      C         D          E           F          G      H
211 * AP exams continue to be uploaded through September
212
213 HS Extracurriculars
214   Participated in community service                                         93%
215   Played a sport                                                            74%
216   Contributed to a cause I believe in                                       63%
217   Pursued an independent hobby                                              61%
218   Participated in music, drama, or other arts                               54%
219   Assumed daily family responsibilities                                     53%
220   Traveled outside my home country                                          51%
221   Held a job during the school year                                         46%
222   Held position as president of class or club                               49%
223   Participated in academic competitions                                     42%
224   Captained a varsity sport                                                 36%
225   Participated in student government                                        34%
226   Participated in academic or professional internship                       25%
227   Earned all-conference or higher recognition as an athlete                 23%
228   Conducted research outside the classroom                                  22%
229   Contributed to school publication                                         20%
230   Founded an organization                                                   18%
231   Achieved fluency in non-native language                                   16%
232   Earned National Merit Semifinalist recognition                             8%
233   Named National Achievement Scholar                                         7%
234   Served as Editor-in-Chief of publication                                   6%
235   Participated in Governor’s School                                          6%
236   Studied Abroad during high school                                          6%
237   Participated in Boys’ or Girls’ State                                      5%
238   Earned National Merit Finalist recognition                                 5%
239   Earned Eagle Scout or Gold Award                                           5%
240   Served as Student Body President                                           5%
241
242
243   By Country of Citizenship
244




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                       A                  B           C          D          E           F          G      H
245   United States                           3,879
246   Bermuda                                     1
247   Brazil                                      1
248   Canada                                      5
249   China                                      52
250   Colombia                                    2
251   El Salvador                                 1
252   Germany                                     1
253   India                                       4
254   Iran (Islamic Republic Of)                  1
255   Jordan                                      1
256   Kenya                                       2
257   Korea, Republic of                          8
258   Malaysia                                    1
259   Mexico                                      2
260   Moldova, Republic of                        1
261   Philippines                                 1
262   Russian Federation                          1
263   South Africa                                2
264   Taiwan                                      1
265   Turkey                                      1
266   United Kingdom                              5
267   Viet Nam                                    1




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FALL 2014 FIRST-YEAR APPLIED-ADMITTED-ENROLLED

BY RESIDENCY AND ALUMN STATUS

North Carolina                           Applied   Admitted   Admit %    Enrolled      Yield
Non-alumn                                 8,228      4,219     51.3%       2,568     60.9%
Alumn                                     1,528        919     60.1%         604     65.7%
Total                                     9,756      5,138     52.7%       3,172     61.7%

Out of State                             Applied   Admitted   Admit %    Enrolled      Yield
Non-alumn                                20,950      3,482     16.6%        688      19.8%
Alumn                                       625        310     49.6%        114      36.8%
Total                                    21,575      3,792     17.6%        802      21.1%

All                                      Applied   Admitted   Admit %    Enrolled      Yield
Non-alumn                                29,178      7,701     26.4%       3,256     42.3%
Alumn                                     2,153      1,229     57.1%         718     58.4%
Total                                    31,331      8,930     28.5%       3,974     44.5%

BY ETHNICITY (USING UNDERGRADUATE ADMISSIONS REPORTING GUIDELINES)

Race/Ethnicity                           Applied   Admitted   Admit %    Enrolled      Yield
One race or ethnicity only               27,064      7,618     28.1%       3,463     45.5%
Two or more races                         3,194        990     31.0%         402     40.6%
No race or ethnicity reported             1,073        322     30.0%         109     33.9%
Total                                    31,331      8,930     28.5%       3,974     44.5%

Of those reporting one race or ethnicity only
                                         Applied   Admitted   Admit %    Enrolled      Yield
Native American                              80         39     48.8%          21     53.8%
Asian/Asian American                      5,873      1,492     25.4%         493     33.0%
Black/African American                    2,668        686     25.7%         334     48.7%
Caucasian/White                          17,799      5,218     29.3%       2,520     48.3%




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Hispanic/Latino/Latina                     626        181      28.9%          94     51.9%
Pacific Islander                            18          2      11.1%           1     50.0%
Total                                   27,064      7,618      28.1%       3,463     45.5%

All reported races and ethnicities
                                        Applied   Admitted    Admit %    Enrolled      Yield
Native American                            513        202      39.4%          97     48.0%
Asian/Asian American                     6,561      1,693      25.8%         577     34.1%
Black/African American                   3,274        880      26.9%         422     48.0%
Caucasian/White                         20,660      6,109      29.6%       2,897     47.4%
Hispanic/Latino/Latina                   2,558        755      29.5%         308     40.8%
Pacific Islander                            84         14      16.7%           2     14.3%


BY ETHNICITY (USING FEDERAL REPORTING GUIDELINES)

                                        Applied   Admitted    Admit %    Enrolled      Yield
International/Nonresident Aliens         3,016        512      17.0%          95     18.6%

Hispanic/Latino of Any Race              2,378        722      30.4%        301      41.7%

Non-Hispanic/Latino:
 Native American                            80         39      48.8%          21     53.8%
 Asian/Asian American                    3,422      1,088      31.8%         424     39.0%
 Black/African American                  2,590        669      25.8%         328     49.0%
 Caucasian/White                        17,605      5,175      29.4%       2,507     48.4%
 Pacific Islander                           18          2      11.1%           1     50.0%

Two or More Races                        1,248        413      33.1%         188     45.5%
Race/Ethnicity Unknown                     974        310      31.8%         109     35.2%
Total                                   31,331      8,930      28.5%       3,974     44.5%




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BY RESIDENCY AND GENDER

North Carolina                  Applied     Admitted   Admit %   Enrolled      Yield
Female                           5,755        3,033    52.7%       1,869     61.6%
Male                             4,001        2,105    52.6%       1,303     61.9%
Total                            9,756        5,138    52.7%       3,172     61.7%

Out of State                    Applied     Admitted   Admit %   Enrolled      Yield
Female                          12,799        2,139    16.7%        433      20.2%
Male                             8,776        1,653    18.8%        369      22.3%
Total                           21,575        3,792    17.6%        802      21.1%

All                             Applied     Admitted   Admit %   Enrolled      Yield
Female                          18,554        5,172    27.9%       2,302     44.5%
Male                            12,777        3,758    29.4%       1,672     44.5%
Total                           31,331        8,930    28.5%       3,974     44.5%


BY RESIDENCY AND FIRST-GENERATION COLLEGE

North Carolina                  Applied     Admitted   Admit %   Enrolled      Yield
FGC                              2,134          862    40.4%         602     69.8%
Non-FGC                          7,622        4,276    56.1%       2,570     60.1%
Total                            9,756        5,138    52.7%       3,172     61.7%

Out of State                    Applied     Admitted   Admit %   Enrolled      Yield
FGC                              2,885          380    13.2%        108      28.4%
Non-FGC                         18,690        3,412    18.3%        694      20.3%
Total                           21,575        3,792    17.6%        802      21.1%

All                             Applied     Admitted   Admit %   Enrolled      Yield
FGC                              5,019        1,242    24.7%         710     57.2%
Non-FGC                         26,312        7,688    29.2%       3,264     42.5%




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Total                               31,331      8,930      28.5%       3,974     44.5%

BY RESIDENCY AND FEE WAIVER

North Carolina                      Applied   Admitted    Admit %    Enrolled      Yield
Fee Waiver                           1,384        526      38.0%         350     66.5%
Non Fee Waiver                       8,372      4,612      55.1%       2,822     61.2%
Total                                9,756      5,138      52.7%       3,172     61.7%

Out of State                        Applied   Admitted    Admit %    Enrolled      Yield
Fee Waiver                           2,121        314      14.8%         75      23.9%
Non Fee Waiver                      19,454      3,478      17.9%        727      20.9%
Total                               21,575      3,792      17.6%        802      21.1%

All                                 Applied   Admitted    Admit %    Enrolled      Yield
Fee Waiver                           3,505        840      24.0%         425     50.6%
Non Fee Waiver                      27,826      8,090      29.1%       3,549     43.9%
Total                               31,331      8,930      28.5%       3,974     44.5%

BY CITIZENSHIP
                                    Applied   Admitted    Admit %    Enrolled      Yield
U.S. Citizens                       27,600      8,221      29.8%       3,793     46.1%
Permanent Residents                    715        197      27.6%          86     43.7%
Non-Resident Alien                   3,016        512      17.0%          95     18.6%
Total                               31,331      8,930      28.5%       3,974     44.5%


BY RESIDENCY AND SAT

North Carolina                      Applied   Admitted    Admit %    Enrolled      Yield
Below 1200                              38          2       5.3%           2    100.0%
1200's                                  80          1       1.3%           1    100.0%
1300's                                 202          6       3.0%           6    100.0%




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1400's                                 347         24       6.9%         18      75.0%
1500's                                 572         96      16.8%         73      76.0%
1600's                                 870        220      25.3%        157      71.4%
1700's                               1,228        463      37.7%        337      72.8%
1800's                               1,378        756      54.9%        497      65.7%
1900's                               1,323        922      69.7%        625      67.8%
2000's                               1,302        826      63.4%        520      63.0%
2100's                                 656        565      86.1%        292      51.7%
2200's                                 354        332      93.8%        142      42.8%
2300's                                 152        140      92.1%         38      27.1%
2400                                    12         12     100.0%          3      25.0%

No. w/ scores                        8,244      4,356                  2,711
Submitted ACT only                   1,414        773                    461

Average SAT CR                        614        652                    642
Average SAT Math                      625        664                    655
Average SAT Writing                   603        644                    634
Average SAT CR + M                   1238       1316                   1297

Out of State                        Applied   Admitted    Admit %    Enrolled      Yield
Below 1200                              41          1       2.4%          1     100.0%
1200's                                  77          1       1.3%          1     100.0%
1300's                                 149          8       5.4%          7      87.5%
1400's                                 266         15       5.6%         12      80.0%
1500's                                 464         17       3.7%         16      94.1%
1600's                                 800         27       3.4%         19      70.4%
1700's                               1,310         69       5.3%         42      60.9%
1800's                               2,016        110       5.5%         53      48.2%
1900's                               2,481        213       8.6%         63      29.6%
2000's                               2,766        346      12.5%        101      29.2%
2100's                               2,504        658      26.3%        148      22.5%
2200's                               1,638        813      49.6%        124      15.3%




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2300's                                 631        489      77.5%          35      7.2%
2400                                    33         30      90.9%           0      0.0%


No. w/ scores                       15,179      2,797                   622
Submitted ACT only                   5,876        995                   180

Average SAT CR                        641        708                    665
Average SAT Math                      673        726                    690
Average SAT Writing                   653        713                    675
Average SAT CR + M                   1314       1434                   1355

All                                 Applied   Admitted    Admit %    Enrolled      Yield
Below 1200                              79          3       3.8%          3     100.0%
1200's                                 157          2       1.3%          2     100.0%
1300's                                 351         14       4.0%         13      92.9%
1400's                                 613         39       6.4%         30      76.9%
1500's                               1,036        113      10.9%         89      78.8%
1600's                               1,670        247      14.8%        176      71.3%
1700's                               2,538        532      21.0%        379      71.2%
1800's                               3,394        866      25.5%        550      63.5%
1900's                               3,804      1,135      29.8%        688      60.6%
2000's                               4,068      1,172      28.8%        621      53.0%
2100's                               3,160      1,223      38.7%        440      36.0%
2200's                               1,992      1,145      57.5%        266      23.2%
2300's                                 783        629      80.3%         73      11.6%
2400                                    45         42      93.3%          3       7.1%


No. w/ scores                       23,690      7,162                  3,333
Submitted ACT only                   7,290      1,768                    641

Average SAT CR                         631        674                   646




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Average SAT Math                      656        688                    662
Average SAT Writing                   635        671                    641
Average SAT CR + M                   1287       1362                   1308

BY RESIDENCY AND CLASS RANK

North Carolina                      Applied   Admitted    Admit %    Enrolled      Yield
Top tenth                            4,050      3,107      76.7%       1,948     62.7%
Second Tenth                         1,748        616      35.2%         426     69.2%
Second Fifth                         1,309        170      13.0%         124     72.9%
Third Fifth                            325         15       4.6%          14     93.3%
Fourth Fifth                            84          3       3.6%           3    100.0%
Bottom Fifth                            10          0       0.0%           --        --

No. w/ Ranks                         7,526      3,911                  2,515
Rank not available                   2,230      1,227                    657
Total                                9,756      5,138                  3,172

Out of State                        Applied   Admitted    Admit %    Enrolled      Yield
Top tenth                            5,069      1,401      27.6%         257     18.3%
Second Tenth                         1,746         81       4.6%          27     33.3%
Second Fifth                         1,198         34       2.8%          23     67.6%
Third Fifth                            330         16       4.8%          16    100.0%
Fourth Fifth                            99          7       7.1%           5     71.4%
Bottom Fifth                            25          0       0.0%           --        --

No. w/ Ranks                         8,467      1,539                    328
Rank not available                  13,108      2,253                    474
Total                               21,575      3,792                    802

All                                 Applied   Admitted    Admit %    Enrolled      Yield
Top tenth                            9,119      4,508      49.4%       2,205     48.9%
Second Tenth                         3,494        697      19.9%         453     65.0%




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Second Fifth                         2,507         204           8.1%            147     72.1%
Third Fifth                            655          31           4.7%             30     96.8%
Fourth Fifth                           183          10           5.5%              8     80.0%
Bottom Fifth                            35           0           0.0%              0         --

No. w/ Ranks                        15,993       5,450                         2,843
Rank not available                  15,338       3,480                         1,131
Total                               31,331       8,930                         3,974


BY DEADLINE

NC                                  Applied    Admitted       Admit %         Enrolled    Yield
1                                    7,098       4,241         59.7%           2,680     63.2%
2                                    2,658         897         33.7%             493     55.0%
Total                                9,756       5,138         52.7%           3,173     61.8%

Out of State                        Applied    Admitted       Admit %         Enrolled    Yield
1                                    9,860       2,243         22.7%             486     21.7%
2                                   11,715       1,549         13.2%             316     20.4%
Total                               21,575       3,792         17.6%             802     21.1%

ALL                                 Applied    Admitted       Admit %         Enrolled    Yield
1                                   16,958       6,484         38.2%           3,166     48.8%
2                                   14,373       2,446         17.0%             809     33.1%
Total                               31,331       8,930         28.5%           3,975     44.5%


BY NC COUNTY (based on permanent home address, not residency)

                                    Applied    Admitted
                                                      Enrolled -Admit
                                                                 NC Counties.CountOfID
                                                                      %                   Yield
Alamance                               116          62         53.4%               36    58.1%
Alexander                               23          15         65.2%               10    66.7%




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Alleghany                      4          3       75.0%          3     100.0%
Anson                          7          2       28.6%          2     100.0%
Ashe                          17          9       52.9%          3      33.3%
Avery                          8          3       37.5%          3     100.0%
Beaufort                      21         11       52.4%          4      36.4%
Bertie                         8          3       37.5%          2      66.7%
Bladen                        13          6       46.2%          4      66.7%
Brunswick                     59         26       44.1%         17      65.4%
Buncombe                     280        152       54.3%         90      59.2%
Burke                         58         27       46.6%         21      77.8%
Cabarrus                     226        113       50.0%         74      65.5%
Caldwell                      49         26       53.1%         20      76.9%
Camden                         8          5       62.5%          2      40.0%
Carteret                      47         26       55.3%         20      76.9%
Caswell                        7          2       28.6%          1      50.0%
Catawba                      133         79       59.4%         47      59.5%
Chatham                       94         45       47.9%         27      60.0%
Cherokee                       8          6       75.0%          3      50.0%
Chowan                         8          5       62.5%          4      80.0%
Clay                           3          2       66.7%          1      50.0%
Cleveland                     61         35       57.4%         23      65.7%
Columbus                      16          7       43.8%          2      28.6%
Craven                        63         35       55.6%         24      68.6%
Cumberland                   244        123       50.4%         85      69.1%
Currituck                     20         12       60.0%          6      50.0%
Dare                          43         20       46.5%         14      70.0%
Davidson                     113         69       61.1%         36      52.2%
Davie                         36         19       52.8%         12      63.2%
Duplin                        23          8       34.8%          5      62.5%
Durham                       365        181       49.6%         98      54.1%
Edgecombe                     17          6       35.3%          4      66.7%
Forsyth                      437        251       57.4%        167      66.5%
Franklin                      32         11       34.4%          8      72.7%




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Gaston                         131        73       55.7%         44      60.3%
Gates                            3         2       66.7%          2     100.0%
Graham                           5         4       80.0%          2      50.0%
Granville                       28        13       46.4%         10      76.9%
Greene                           4         0        0.0%          --         --
Guilford                       776       423       54.5%        257      60.8%
Halifax                         44        22       50.0%         16      72.7%
Harnett                         53        15       28.3%          9      60.0%
Haywood                         22        10       45.5%          6      60.0%
Henderson                       70        33       47.1%         17      51.5%
Hertford                        11         5       45.5%          4      80.0%
Hoke                            16         5       31.3%          3      60.0%
Hyde                             3         1       33.3%          1     100.0%
Iredell                        194        93       47.9%         65      69.9%
Jackson                         15         8       53.3%          6      75.0%
Johnston                       126        54       42.9%         29      53.7%
Jones                            3         2       66.7%          1      50.0%
Lee                             32        16       50.0%         10      62.5%
Lenoir                          36        18       50.0%         14      77.8%
Lincoln                         62        28       45.2%         17      60.7%
Macon                           18         9       50.0%          6      66.7%
Madison                         14        10       71.4%          7      70.0%
Martin                           8         3       37.5%          3     100.0%
McDowell                        18         7       38.9%          5      71.4%
Mecklenburg                  1,429       731       51.2%        424      58.0%
Mitchell                         5         1       20.0%          0       0.0%
Montgomery                      11         7       63.6%          5      71.4%
Moore                           92        36       39.1%         19      52.8%
Nash                            78        44       56.4%         31      70.5%
New Hanover                    247       140       56.7%         85      60.7%
Northampton                     17         5       29.4%          4      80.0%
Onslow                          85        45       52.9%         36      80.0%
Orange                         472       275       58.3%        157      57.1%




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Pamlico                           7         3       42.9%          2      66.7%
Pasquotank                       19         9       47.4%          7      77.8%
Pender                           36        18       50.0%         11      61.1%
Perquimans                        5         1       20.0%          0       0.0%
Person                           19         6       31.6%          6     100.0%
Pitt                            129        84       65.1%         46      54.8%
Polk                             10         8       80.0%          5      62.5%
Randolph                         82        47       57.3%         30      63.8%
Richmond                         21         9       42.9%          5      55.6%
Robeson                          40        19       47.5%         12      63.2%
Rockingham                       55        26       47.3%         19      73.1%
Rowan                            69        42       60.9%         27      64.3%
Rutherford                       19        12       63.2%          7      58.3%
Sampson                          32        16       50.0%         12      75.0%
Scotland                         17        10       58.8%          5      50.0%
Stanly                           29        13       44.8%          6      46.2%
Stokes                           18         7       38.9%          4      57.1%
Surry                            43        25       58.1%         15      60.0%
Swain                             4         2       50.0%          2     100.0%
Transylvania                     16        12       75.0%          8      66.7%
Tyrrell                           3         0        0.0%          --         --
Union                           332       193       58.1%        124      64.2%
Vance                            20        10       50.0%          7      70.0%
Wake                          1,881       918       48.8%        569      62.0%
Warren                            6         3       50.0%          2      66.7%
Washington                        2         0        0.0%          --         --
Watauga                          35        18       51.4%         11      61.1%
Wayne                            57        32       56.1%         17      53.1%
Wilkes                           30        17       56.7%          7      41.2%
Wilson                           52        26       50.0%         16      61.5%
Yadkin                           18        11       61.1%          6      54.5%
Yancey                            5         3       60.0%          3     100.0%




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BY US STATE (using home address field)

                                     Applied     Admitted   Admit %   Enrolled     Yield
AK                                          12         4    33.3%          0      0.0%
AL                                         124        26    21.0%          4     15.4%
AR                                          52        15    28.8%          5     33.3%
AZ                                         156        49    31.4%          6     12.2%
CA                                       1,302       181    13.9%         25     13.8%
CO                                         236        55    23.3%         13     23.6%
CT                                         521        65    12.5%         19     29.2%
DC                                          97        26    26.8%          5     19.2%
DE                                         101        11    10.9%          6     54.5%
FL                                       1,602       404    25.2%         83     20.5%
GA                                       1,113       276    24.8%         70     25.4%
HI                                          23         0     0.0%          --        --
IA                                          57        15    26.3%          1      6.7%
ID                                          32         5    15.6%          0      0.0%
IL                                         670        80    11.9%         12     15.0%
IN                                         191        24    12.6%          6     25.0%
KS                                          91        20    22.0%          1      5.0%
KY                                         149        39    26.2%          4     10.3%
LA                                         110        35    31.8%          5     14.3%
MA                                         688        59     8.6%         12     20.3%
MD                                       1,248       216    17.3%         52     24.1%
ME                                          73         2     2.7%          0      0.0%
MI                                         284        37    13.0%          9     24.3%
MN                                         192        30    15.6%          7     23.3%
MO                                         172        31    18.0%          8     25.8%
MS                                          40        17    42.5%          0      0.0%
MT                                          17         2    11.8%          0      0.0%
NC                                       9,934     5,163    52.0%      3,183     61.7%
ND                                           9         3    33.3%          0      0.0%




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NE                     40         9       22.5%          1      11.1%
NH                    138         7        5.1%          0       0.0%
NJ                  1,565       191       12.2%         46      24.1%
NM                     42         4        9.5%          1      25.0%
NV                     44         7       15.9%          0       0.0%
NY                  1,744       268       15.4%         81      30.2%
OH                    587        89       15.2%         13      14.6%
OK                     53         6       11.3%          0       0.0%
OR                     92        18       19.6%          4      22.2%
PA                    933       136       14.6%         44      32.4%
RI                     80         8       10.0%          2      25.0%
SC                    414        91       22.0%         22      24.2%
SD                     15         4       26.7%          1      25.0%
TN                    404       104       25.7%         20      19.2%
TX                    912       203       22.3%         34      16.7%
UT                     38        11       28.9%          1       9.1%
VA                  1,451       306       21.1%         70      22.9%
VT                     50         1        2.0%          0       0.0%
WA                    162        27       16.7%          6      22.2%
WI                    163        17       10.4%          0       0.0%
WV                     50        11       22.0%          2      18.2%
WY                      5         1       20.0%          0       0.0%




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FALL 2013 VS. FALL 2014

Applications                             2013       2014    % Change
All                                    30,835     31,331       1.6%
NC                                      9,893      9,756      -1.4%
OOS                                    20,942     21,575       3.0%

Black/African American                  3,393      3,274      -3.5%
Hispanic/Latino/Latina                  2,471      2,558       3.5%
Native American                           587        513     -12.6%

FGC                                     4,968      5,019       1.0%
Fee waivers                             2,710      3,505      29.3%

Female                                 18,361     18,554       1.1%
Male                                   12,474     12,777       2.4%

Admissions                               2013       2014    % Change
All                                     8,243      8,930       8.3%
NC                                      5,043      5,138       1.9%
OOS                                     3,200      3,792      18.5%

Black/African American                   772        880       14.0%
Hispanic/Latino/Latina                   666        755       13.4%
Native American                          185        202        9.2%

FGC                                     1,225      1,242       1.4%
Fee Waivers                               557        840      50.8%

Female                                  4,853      5,172       6.6%
Male                                    3,390      3,758      10.9%

Yield                                    2013       2014     Change




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All                                    47.9%      44.5%         -3.4
From NC                                63.4%      61.7%         -1.6
From OOS                               23.4%      21.1%         -2.3

Black/African American                 50.6%      48.0%         -2.6
Hispanic/Latino/Latina                 42.5%      40.8%         -1.7
Native American                        50.3%      48.0%         -2.3

FGC                                    59.8%      57.2%         -2.7
Fee Waivers                            61.9%      50.6%        -11.3

Female                                 48.3%      44.5%         -3.8
Male                                   47.2%      44.5%         -2.7

NC Female                              62.9%      61.6%         -1.2
NC Male                                64.2%      61.9%         -2.3

OOS Female                             23.9%      20.2%         -3.7
OOS Male                               22.8%      22.3%         -0.5


Decile Rank                              2013       2014     Change
% First Decile                         78.4%      77.6%         -0.8
% Second Decile                        15.6%      15.9%          0.3
% First Quintile                       94.0%      93.5%         -0.5

Numerical Rank                           2013       2014     Change
% First                                 7.1%       7.7%          0.6
% Second                                6.4%       5.9%         -0.5
% Third                                 5.6%       4.5%         -1.1
% Fourth Through Tenth                 24.4%      24.1%         -0.3
Total Top Ten                          43.6%      42.3%         -1.3




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SAT Ranges
All                               2013       2014     Change
25th Percentile                  1780       1810          30
75th Percentile                  2110       2120          10

NC                                2013       2014     Change
25th Percentile                  1780       1810          30
75th Percentile                  2080       2090          10

OOS                               2013       2014     Change
25th Percentile                  1870       1860         -10
75th Percentile                  2260       2230         -30

ACT Ranges
All                               2013       2014     Change
25th Percentile                    28         28           0
75th Percentile                    33         33           0

NC                                2013       2014     Change
25th Percentile                    28         28           0
75th Percentile                    32         32           0

OOS                               2013       2014     Change
25th Percentile                    30         30           0
75th Percentile                    34         34           0

AP Scores                         2013       2014     Change
Total Submitted                 19,953     20,484        531
% Scores 3+                     87.0%      86.0%       -1.0%




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